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1                            UNITED STATES DISTRICT COURT
2                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
3
4         UNITED STATES OF AMERICA,                     No. CR 2:24-cr-00091-ODW
5         Plaintiff,
6         v.                                            [PROPOSED] ORDER
7         ALEXANDER SMIRNOV,
8         Defendant.
9
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11         Upon Consideration of the Defendant’s Motion in Limine to Preclude Any
12   References to Defendant’s Alleged Disloyalty [ECF No. 147], and the Government’s
13   Response thereto, the Court denies the Motion for the reasons stated in the Government’s
14   Response.
15
16         Dated: ________________               SO ORDERED
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18                                               ____________________________
19                                               The Honorable Otis D. Wright, III
20                                               United States District Judge
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